Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 1 of 12 PageID #:6199
Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 2 of 12 PageID #:6200
Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 3 of 12 PageID #:6201
Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 4 of 12 PageID #:6202
Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 5 of 12 PageID #:6203
Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 6 of 12 PageID #:6204
Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 7 of 12 PageID #:6205
Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 8 of 12 PageID #:6206
Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 9 of 12 PageID #:6207
Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 10 of 12 PageID #:6208
Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 11 of 12 PageID #:6209
Case: 1:04-cv-07644 Document #: 249 Filed: 10/31/07 Page 12 of 12 PageID #:6210
